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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF TEXAS
                                SAN ANTONIO DIVISION

 ANNA GONZALEZ and RONALD K.
 PAGE, on behalf of themselves and all others
 similarly situated,

                Plaintiffs,                                 Civil Action No.: SA-20-CV-617-FB

 v.

 STATE FARM LIFE INSURANCE
 COMPANY,

                Defendant.


      NOTICE OF ATTORNEY WITHDRAWAL OF WALDEMAR J. PFLEPSEN, JR.

        Defendant State Farm Life Insurance Company submits this notice to effectuate the

withdrawal of additional named counsel Waldemar J. Pflepsen, Jr., effective June 30, 2021. Mr.

Plfepsen had been admitted as counsel pro hac vice. [Dkt. 33]. There will be no interruption in the

representation of State Farm as it is also represented in this case by Wayne B. Mason, Texas Bar No.

13158950, Susan E. Egeland, Texas Bar No. 24040854, and Shaunda A. Patterson-Strachan, admitted

pro hac vice, to continue as counsel for Defendant. Mr. Pflepsen seeks to withdraw as he is retiring

from Faegre Drinker Biddle & Reath LLP as of this date.


 Dated: June 30, 2021                          Respectfully submitted,

                                               /s/ Susan E. Egeland
                                               Susan E. Egeland
                                               Texas Bar No. 24040854
                                               susan.egeland@faegredrinker.com
                                               FAEGRE DRINKER BIDDLE & REATH LLP
                                               1717 Main Street, Suite 5400
                                               Dallas, Texas 75201
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                                 CERTIFICATE OF SERVICE

       I certify that on June 30, 2021, a true and correct copy of the above and foregoing document
was electronically filed with the Clerk of Court using the CM/ECF system, which will send
notification of such filing to all counsel of record who are deemed to have consented to electronic
service.

                                               /s/ Susan E. Egeland
                                               SUSAN E. EGELAND




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